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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
Plaintiff : CR No. 3:20-07-06

VS.

TAMMIE BROLIN
Defendant

HEARING: Sentencing on February 7, 2023

Before Judge Kim R. Gibson

 

 

 

 

Maureen Sheehan-Balchon, AUSA Martin A. Dietz, Esquire
Appear for Plaintiff Appear for Defendant
Hearing Began: 10:32 a.m. Hearing Ended: 11:10 a.m.
CRD _Debbie Gorgone Stenographer _Shirley Hall

 

 

This was the time and place set for Sentencing in this case. Counsel entered their
appearances. This sentencing was conducted via Zoom with all parties’ consent.
Defendant sworn. Defendant previously pled guilty to Count Two of the
Superseding Indictment. Sentencing guidelines and sentencing options given.
Defendant was sentenced to 120 months of imprisonment. Upon release from
imprisonment, the Defendant shall be on supervised release for a term of 5 years.
Said term of supervised release comes with standard and special conditions of
supervision, as more fully stated in the Judgment. Defendant shall pay to the
United States a special assessment of $100, which shall be paid to the United
States District Court Clerk forthwith. Defendant shall remain detained pending
designation by the Bureau of Prisons. Defendant’s appeal rights given.
